         Case 6:16-cv-00484-RP Document 19 Filed 10/27/17 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


 MIRANDA WILSON,
   Plaintiff


v.                                                           CIVIL ACTION NO. 16-484


LIBERTY MUTUAL GROUP INC.,
  Defendant




                     JOINT MOTION TO DISMISS WITH PREJUDICE


TO THE HONORABLE COURT:

       NOW COME Miranda Wilson, Plaintiff herein, and Liberty Mutual Group Inc.,

Defendant here~ by and through their respective counsel, and jointly move the Court to dismiss

with prejudice all claims of Miranda Wilson and for such would show as follows.

                                                1.

       Plaintiff Miranda Wilson and Defendant Liberty Mutual Group Inc., would represent to

the Court that all claims and causes of action asserted herein by the Plaintiff Miranda Wilson

against the Defendant Liberty Mutual Group lnc. have been fully compromised and settled by

and between Plaintiff Miranda Wilson and Defendant Liberty Mutual Group Inc .. Accordingly,

Plaintiff Miranda Wilson and Defendant Liberty Mutual Group Inc. desire to have all of

Plaintiffs claims and causes of action asserted herein be dismissed with prejudice to the rights of

Plaintiff Miranda Wilson to hereafter reassert or refile any claim or cause of action asserted or

which could have been asserted herein against Defendant.



Doc# 63Y8175.DOCX
         Case 6:16-cv-00484-RP Document 19 Filed 10/27/17 Page 2 of 2



                                                 2.                                                   i ..




        The Court is further requested to tax all costs of Court against the party incurring same.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Miranda Wilson and Defendant

 Liberty Mutual Group Inc. respectfully request that all claims and causes of action asserted

 herein by Plaintiff against Defendant be dismissed with prejudice, that all costs be taxed against

the party incurring same, and that the Court enter such other orders as it deems necessary for

justice under the premises.


                                              Respectfully submitted,



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Doc# 63Y8175.DOCX
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